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US. DISTRICT COURT
DISTRICT OF VERMONT
UNITED STATES DISTRICT COURT FiL

 

FOR THE -6 PH{2:03
DISTRICT OF VERMONT 2070 AUG
UNITED STATES OF AMERICA )
) -
V. ) Case No. 2°90 -cv - 74 |
)
RYAN BEAULIEU, )
Defendant. )
INDICTMENT
The Grand Jury charges:
COUNT ONE

On or about May 16, 2020, in the District of Vermont and elsewhere, the defendant,
RYAN BEAULIEU, employed, used, persuaded, induced, and enticed a minor to engage in
sexually explicit conduct for the purpose of transmitting a live visual depiction of such conduct,
knowing and having reason to know that such visual depiction would be transmitted using a
means and facility of interstate and foreign commerce, and the visual depiction was transmitted
using a means and facility of interstate and foreign commerce.

(18 U.S.C. § 2251 (a))
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COUNT TWO
On or about June 5, 2020, in the District of Vermont and elsewhere, the defendant,
RYAN BEAULIEU, employed, used, persuaded, induced, and enticed a minor to engage in
sexually explicit conduct for the purpose of transmitting a live visual depiction of such conduct,
knowing and having reason to know that such visual depiction would be transmitted using a
means and facility of interstate and foreign commerce, and the visual depiction was transmitted
using a means and facility of interstate and foreign commerce.

(18 U.S.C. § 2251(a))
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COUNT THREE

On or about June 27, 2020, in the District of Vermont and elsewhere, the defendant,
RYAN BEAULIEU, knowingly and intentionally distributed visual depictions using any means
and facility of interstate and foreign commerce and in and affecting interstate and foreign
commerce, the production of such visual depictions having involved the use of a minor engaging

in sexually explicit conduct and such visual depiction was of such conduct.

(18 U.S.C. § 2252(a)(2))
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COUNT FOUR

On or about July 24, 2020, in the District of Vermont, the defendant, RYAN
BEAULIEU, knowingly possessed at least one matter which contained visual depictions that had
been shipped and transported using any means and facility of interstate and foreign commerce,
and shipped and transported in and affecting interstate and foreign commerce, and that had been
produced using materials which had been mailed, and so shipped and transported, by any means
including by computer, where the producing of such visual depictions involved the use of minors
engaging in sexually explicit conduct and such visual depictions were of such conduct.

(18 U.S.C. § 2252(a)(4)(B))

A TRUE BILL

  
     

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IWA E. NOL

Burlington, Vermont
August 6, 2020
